        19-13895-jlg       Doc 294        Filed 07/10/20 Entered 07/10/20 19:41:07          Main Document
                                                       Pg 1 of 2



         UNITED STATES BANKRUPTCY COURT
         SOUTHERN DISTRICT OF NEW YORK
         ------------------------------------------------------------ x
         In re:                                                        :
                                                                       :   Chapter 7
         ORLY GENGER,                                                  :
                                                                       :   Case No.: 19-13895 (JLG)
                                             Debtor.                   :
                                                                       :
         ------------------------------------------------------------- x


                                        DECLARATION OF DALIA GENGER

                 DALIA GENGER, pursuant to 28 U.S.C. § 1746(2), declares as follows:

                 1.       I am a creditor in the above-referenced action, and the plaintiff in the constructive

        trust action brought in connection with this case. See Adversary Proceeding # 20-01010-jlg. I am

        also the plaintiff in an action seeking to determine the discharge and/or dischargeability of the

        Debtor. [Dkt. No. 99].        I respectfully submit this declaration in support of the common interest

        privilege shared by parties and counsel for (a) myself, (b) my son, Sagi Genger, (c) the Trustee of

        the Orly Genger 1993 Trust, Michael Oldner, and our respective affiliated entities (collectively,

        the “Parties”).

                 2.       I have reviewed the accompanying declaration of Sagi Genger [Dkt. No. 293-1]

        (“Sagi Declaration”), and hereby attest to this Court that it is correct and consistent with my

        understanding. In support of this Declaration, I hereby incorporate by reference all of the

        statements and assertions made in the Sagi Declaration, including those supporting a common

        interest privilege among the Parties and their counsel.

                 3.       Neither I, nor any entity with which I am affiliated, consent to disclosure of any

        confidential common interest communications between or among the Parties and/or any of our

        respective counsel.




4853-1344-6338
        19-13895-jlg      Doc 294      Filed 07/10/20 Entered 07/10/20 19:41:07            Main Document
                                                    Pg 2 of 2



                 I hereby declare under penalty of perjury that the foregoing is true and correct.

        Dated: New York, New York
               July 10, 2020
                                                                      /s/ Dalia Genger
                                                                      DALIA GENGER




                                                          -2-
4853-1344-6338
